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IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE »
WESTERN DIVISION 05 JUL 26 AH 8 30

 

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UNITE`D STATES OF AMERICA
Plaintiff,
VS. CR. NO. 03-20415-1\/11

LUI S IVAN TORRES
Defendant.

-._¢-._r.___,~_,~_/~._/-._#\,r~_r

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 25, 2005, the United States
Attorney for this district, David Henry, appearing for the Government
and the defendant, Luis Ivan Torres, appearing in person and with
counsel, Eugene Laurenzi, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, OCTOBER 21, 2005, at
9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

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ENTERED this the _Z\Pday of July, 2005.

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PI'IIPPS McCALLA
ITED STATES DISTRICT COURT

This document entered on the docket sheet in compliance
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Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

